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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                      CRIMINAL ACTION


 VERSUS                                                                                     NO. 14-168


 ISAAC SMITH                                                                               SECTION I

                                      ORDER AND REASONS

        The Court has received a motion1 filed by defendant, Isaac Smith, to correct his sentence,

and a motion2 to expedite consideration of that motion. The government has filed a response3 and

Smith has filed a motion for leave to file a reply.4

        Rule 35(a) of the Federal Rules of Criminal Procedure allows the Court to “correct a

sentence that resulted from arithmetical, technical, or other clear error.”5 However, “Rule 35(a) does

not authorize re-sentencing when the basis for doing so is that the district court changed its mind

about the appropriateness of the sentence.” United States v. Ross, 557 F.3d 237, 241 (5th Cir. 2009).

        Considering Smith’s arguments based on 18 U.S.C. § 3553 and the Eighth Amendment, as

well as the government’s response and the reasons orally pronounced for the sentence imposed, the

Court is unpersuaded that there is any “arithmetical, technical, or other clear error” such that




        1
          R. Doc. No. 733
        2
          R. Doc. No. 734.
        3
          R. Doc. No. 736.
        4
          R. Doc. No. 738. The motion for leave to file a reply is granted.
        5
          Smith has already filed a notice of appeal. R. Doc. No. 711. However, “[t]he filing of a
notice of appeal . . . does not divest a district court of jurisdiction to correct a sentence under Federal
Rule of Criminal Procedure 35(a), nor does the filing of a motion under 35(a) affect the validity of
a notice of appeal filed before entry of the order disposing of the motion.” Fed. R. App. P. 4(b)(5).

                                                    1
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modification of Smith’s sentence pursuant to Rule 35(a) is warranted or allowed.6 Accordingly,

       IT IS ORDERED that the motion to expedite and the motion for leave to file a reply are

GRANTED and that the motion to correct the sentence is DENIED.

       New Orleans, Louisiana, May 5, 2016.

                                                      ________________________________
                                                      LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




       6
        Smith also refers to the Healy doctrine, R. Doc. No. 733-1, at 3, which relates to the effect
of a motion for reconsideration on the time to file an appeal in a criminal case and has no obvious
applicability to Smith’s motion. See United States v. Rainey, 757 F.3d 234, 239 (5th Cir. 2014);
United States v. Greenwood, 974 F.2d 1449, 1466 (5th Cir. 1992).

                                                 2
